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 1                                                                        The Honorable Lauren King
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                           NO. 2:25-cv-00244-LK
10                              Plaintiffs,                 SUPPLEMENTAL DECLARATION
                                                            OF WILLIAM MCGINTY IN
11      v.                                                  SUPPORT OF PLAINTIFFS’ REPLY
                                                            IN SUPPORT OF MOTION FOR
12   DONALD J. TRUMP, in his official capacity              PRELIMINARY INJUNCTION
     as President of the United States, et al.,
13                                                          NOTE ON MOTION CALENDAR:
                                Defendants.                 February 28, 2025, at 2:00 p.m.
14

15            I, William McGinty, declare as follows:

16            1.     I am over the age of 18, competent to testify as to the matters herein, and make

17   this declaration based on my personal knowledge. I am one of the attorneys representing

18   Plaintiff State of Washington in the above-captioned matter.

19            2.     The Plaintiffs in this matter filed this lawsuit February 7, 2025, and filed their

20   Motion for Preliminary Injunction Order on February 19, 2025. The Motion seeks to enjoin the

21   President’s Executive Order 14,187 of January 28, 2025, entitled “Protecting Children From

22   Chemical and Surgical Mutilation,” and Executive Order 14,168 of January 20, 2025, entitled,

23   “Extremism and Restoring Biological Truth to the Federal Government.” The Plaintiffs in this

24   matter filed their Reply in Support of Motion for Preliminary Injunction today, February 26,

25   2025.

26

     SUPP. DECL. OF WILLIAM MCGINTY                     1             ATTORNEY GENERAL OF WASHINGTON
                                                                           Complex Litigation Division
     ISO PLS.’ REPLY ISO MOT. FOR                                          800 Fifth Avenue, Suite 2000
     PRELIM. INJ. – NO. 2:25-cv-00244-LK                                       Seattle, WA 98104
                                                                                  (206) 464-7744
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 1            3.      Attached as Exhibit 1 is a true and correct copy of a news article published by
 2   The Colorado Sun on February 20, 2025, written by John Ingold titled “Two Colorado hospitals
 3   to resume gender-affirming care for youth.” I accessed this article online at the URL,
 4   https://coloradosun.com/2025/02/20/gender-affirming-care-resumed-hospitals/ on February 26,
 5   2025 and used the print feature on the website to save a PDF copy using a print to PDF function.
 6            4.      Attached as Exhibit 2 is a true and correct copy of a social media post to X,
 7   formerly known as Twitter, posted by Aaron Rupar (@atrupar) on February 21, 2025. I accessed
 8   this article online at the URL, https://x.com/atrupar/status/1893013201656201662?s=51 on
 9   February 26, 2025 and used the print feature on the website to save a PDF copy using a print to
10   PDF function.
11            5.      Attached as Exhibit 3 is a true and correct copy of the webpage “Sex-Based
12   Definitions” published by the Office of Women’s Health within the U.S. Department of Health
13   and      Human      Services.   I      accessed   this     webpage      online     at    the     URL
14   https://womenshealth.gov/article/sex-based-definitions on February 26, 2025, and used the print
15   feature on the website to save a PDF copy using a print to PDF function.
16            6.      Linked below is a video published by C-SPAN on February 21, 2025 titled
17   “President Trump Clashes with Maine Governor Over Transgender Executive Order.” In this
18   video, President Trump is captured threatening Governor Janet Mills of Maine with the
19   revocation of federal funding if her state does not comply with the Executive Order banning
20   transgender women in women’s sports. Governor Mills is heard stating that she would comply
21   with state and federal law, to which President Trump responds “we are the federal law” and
22   “well     you    better   do    it.”    I   accessed     this   video    online     at   the    URL,
23   https://www.c-span.org/clip/white-house-event/president-trump-clashes-with-maine-governor-
24   over-transgender-executive-order/5154362 on February 26, 2025.
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           Case 2:25-cv-00244-LK           Document 230      Filed 02/26/25         Page 3 of 3




 1          I declare under penalty of perjury under the laws of the State of Washington and the
 2   United States of America that the foregoing is true and correct.
 3          DATED this 26th day of February 2025 at Olympia, Washington.
 4
                                                  /s/ William McGinty
 5                                                WILLIAM MCGINTY, WSBA #41868
                                                  Assistant Attorney General
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